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UNITED sTATEs I)ISTRICT coURT

FoR THE DISTRICT 0F CoLUMBIA C'§"%U'S' Dist"°t and
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IN RE PETITION OF LUKE

NICHTER Misc. Action No. iz-jfl(RcL)

 

ORDER

This matter comes before the Court following correspondence between the Court and
Professor Luke Nichter of Texas A&M University. Professor Nichter first wrote a letter to
chambers on May 1, 2009 expressing his desire to seek unsealing of various records related to
United States v. Liddy, Criminal No. 72-1827, a case in which the government successfully
prosecuted Gordon Liddy for his role in the Watergate break-in. This letter was never received
Professor Nichter then wrote a letter to the Historical Society of the D.C. Circuit requesting
advice on how to seek unsealing and in which he attached the May l, 2009 letter addressed to
chambers The Historical Society forwarded this to chambers, prompting a written response
dated August 24, 2010. Professor Nichter responded in turn on September 6, 2010, and again on
August 7, 2011. Following the August 7 letter, Professor Nichter visited chambers on October 5,
2011, to discuss the appropriate procedures for his request. Professor Nichter followed up with
an e-mail to chambers staff on November 22, 2011 detailing his request with more specificity.
The Court and Professor Nichter then determined that the correspondence exchanged between
the Court, chambers staff, and Professor Nichter should be filed on the public record and
construed as a petition to unseal the specified documents. This Order effectuates that decision.l

It is therefore hereby

 

l The aforementioned correspondence exchanged between the Court, chambers staff, and Professor Nichter will be
ordered filed on the public record. Certain personal information, namely cell phone numbers and home addresses,
will be redacted

 

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ORDERED that the aforementioned correspondence be construed as a petition to unseal
the specified documents The Court hereby waives any filing fee. The Clerk of the Court shall
file this correspondence on the public record, assign it a miscellaneous case number, and serve a
copy on the Department of Justice; and it is further

ORDERED that the government shall have 30 days from the date of the issuance of this

Order to file an opposition, if any.

so oRi)EREi) this ’“l"‘ day er February 2012.

QQC. EWMW&“

Roi/CE C. LAMBERTH
Chief Judge
United States District Court

